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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     (Admitted pro hac vice)
     ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)

                                 Debtor.                             Judge: Michael B. Kaplan


                          NOTICE OF AGENDA OF MATTERS
               SCHEDULED FOR HEARING ON NOVEMBER 15, 2023 AT 11:15 A.M.

      At the direction of the Court, the hearing will be held via Zoom only. All parties who intend
       to present argument should contact Chambers at chambers_of_mbk@njb.uscourts.gov and
      provide the name and email address of the speaker, as well as provide information regarding
                  the party the speaker represents and/or the purpose of the appearance.
            Parties are directed to https://www.njb.uscourts.gov/LTL for observing via Zoom.




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.


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 UNCONTESTED MATTER GOING FORWARD:

 1.      Ad Hoc Committee of Supporting Counsel’s Motion to Supplement Record on Appeal
         [Dkt. 1546].

         Status: This matter is going forward.

         Objection Deadline: At hearing pursuant to the Order Shortening Time [Dkt. 1549].

         Related Documents:

         A.       Application to Shorten Time [Dkt. 1547].

         B.       Order Granting Application to Shorten Time [Dkt. 1549].

         C.       The Official Committee of Talc Claimants’ Statement of Issues on Appeal and
                  Counter-Designation of Record [Dkt. 1423].



  Dated: November 13, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

                                                   /s/ Paul R. DeFilippo
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